         Case 1:15-cv-00445-EGB Document 38 Filed 10/05/17 Page 1 of 2



               IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                            (Electronically filed on October 5, 2017)
_________________________________________________
                                          )
BOTTOM LINE, INC.,                        )
                                          )
                  Plaintiff,              )
                                          )                 Case No. 15-445 L
            v.                            )
                                          )                 Hon. Eric G. Bruggink
UNITED STATES OF AMERICA,                 )
                                          )
                  Defendant.              )
_________________________________________ )


                                 NOTICE OF APPEARANCE

To the Clerk of Court:

       In accordance with RCFC 83.1(c)(4)(B), please enter the appearance of Krystalyn Kinsel

as attorney of record for Defendant, the United States of America, in the above-captioned case.

Ms. Kinsel is replacing William J. Shapiro as attorney of record for the United States.

       Service of all papers by U.S. Mail should be addressed as follows:

                              Krystalyn Kinsel
                              Trial Attorney
                              United States Department of Justice
                              Environment & Natural Resources Division
                              Natural Resources Section
                              P.O. Box 7611
                              Washington, D.C. 20044-7611
                              (202) 305-0484 (telephone)
                              (202) 305-0506 (facsimile)
                              krystalyn.kinsel@usdoj.gov
        Case 1:15-cv-00445-EGB Document 38 Filed 10/05/17 Page 2 of 2




      Overnight and hand deliveries should be addressed to:

                            Krystalyn Kinsel
                            Trial Attorney
                            United States Department of Justice
                            Environment & Natural Resources Division
                            Natural Resources Section
                            601 D Street, NW, Room 3117
                            Washington, D.C. 20004


Dated: October 5, 2017.


                                          Respectfully submitted,

                                          JEFFREY H. WOOD
                                          Acting Assistant Attorney General
                                          Environment & Natural Resources Division

                                          /s/ Krystalyn Kinsel
                                          KRYSTALYN KINSEL
                                          United States Department of Justice
                                          Environment & Natural Resources Division
                                          Natural Resources Section
                                          601 D Street, NW, Room 3117
                                          Washington, D.C. 20004
                                          (202) 305-0484 (telephone)
                                          (202) 305-0506 (facsimile)
                                          krystalyn.kinsel@usdoj.gov

                                          Attorneys for the United States of America




                                             2
